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                                    Approving Trustee Report Page 1 of 1




BTXN 112 (rev. 10/02)
                                      UNITED STATES BANKRUPTCY COURT
                                        NORTHERN DISTRICT OF TEXAS


In Re:                                                       §
Kai Medical Laboratory LLC                                   §    Case No.: 23−30912−swe7
                                                             §    Chapter No.: 7
                                          Debtor(s)          §


          ORDER APPROVING TRUSTEE REPORT AND DISCHARGING TRUSTEE
      The Trustee appointed in the above listed case has filed the Trustee's Report. It is, therefore

      ORDERED that the trustee be discharged.



DATED: 8/24/23                                   FOR THE COURT:
                                                 Robert P. Colwell, Clerk of Court

                                                 by: /s/S Longoria, Deputy Clerk
